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OFFICE OF THE UNITED S'I`ATES TRUSTEE » REGION 3
POST~CON FIRMATION ()UAR'I`ERLY SUMMARY REPORT

This Report is to be submitted for ai| bank accounts that are presently maintained by the post continuation debtor.

 

 

 

Deblor`s Narne: FCC Holdinqs. lnc.. et al Bank: Xenitn Bank

Account Holder Name: FCC Liguidaiing Trust
Bankruptcy Number: 14~11987 (CSSi Accouni Number: "* 0967 and **0942
Date ot Confrrrnation: March 18» 2015 Account Type: Consoiidated Checkinq/Monev Market

 

 

Reporting Period (month/year): .ianuarv 1, 2017 - Marcn 31. 2017 tst Quarter 2017

 

 

 

 

 

 

 

'ist Quarter Case inception
'l'o Date To Date
01/01/17 » 05/07/15 -
03/31/17 03/31/17

Beginning Cash Balance: 3 2,913,798,82 3 9.00
Ail receipts received by the Trust:
initial Trust Funding pursuant to the Plan: 5 0.00 3 1,541,945.71
Additionai Funr.iing

Glosed Bank Accouni 5 0,0(_) 3 220'745,25

insurance Policy Redernption S 0.00 5 1.674.013.68

TBX R€Nfid$ 5 0.00 $ 5,793,'474.30

Other Rece`ipts $ 10,00 5 47,403.96
Inierest income S 3,112.97 5 17.906,86
Total Cash Received: $ 3,122.97 $ 9,295,489.76
Totai Casn Availat)le: ` $ 2,92'1,921.79 $ 9,295,489.76
Less all disbursements or payments
(lnciuding payments made under the confirmed pien) made by the Trust:
Dist)ursements made under the plan for Debtor'e C|aims 3 62,236.67 S 3.866\295.17
Disbursemenis made for pre~effectlve date professionals and expenses 3 0.00 S 1.238.488.13
Disbursements made pursuant to the administrative claims of Trust's professionals $ 37,109.27 3 1.089.080.23
Disbursements made pursuant to the administrative claims ot US Trustee S 975.00 $ 33,475.00
Ai| other disbursements made in the ordinary course: 3 79,453.48 S 326,003.86
Total Disbursements $ 179,774.42 $ 6,553,342.39
Ending Cash Baiance $ 2,742,147.37 5 2,742,147.37

 

Pursuant to 28 U.S.C. Section 1746(2), l hereby declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge and belief

By Clingman & Hanger Managemeni Assoclates LLC. Trustee

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mate ey Name / Tiue ; vv, Edward cnngni‘an Jr., igifricrp’ar

Det)tor: FCC i-ioiding's. lnc..et al
Case Number: 14-11987 (CSS)
Trust Name: FCC Liquidating Trust

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FCC LlQU|DATlNG TRUST

Liabllitlos Not Sub]ect to Cornprornise ( Postpetltlon Llabll|ties) - Othor

Reserve for Dlstrlbutions and Expenses Summary

Beglnntng Baiance
initial Trust F-'undlng pursuant to the Plan

Additionai Fundlng and interest income

Reserve Recelpts

Disbursements made under the plan for Debtor's Claims
Disbursements made for pre-effective date professionals and expenses

Other Disbursements
Reserve Disbursemen\s

Ending Balance

1st Quarter
To Date
01/01/17 -
03/31/1`7
$ 2,918,798.82
$ 0.00

$ 3.122.97

$__a§_ziezl-J_S_

69

(62.236.67)
s 0.00

$ (117.537.75)

$ §'| 79,774.42)

$ 2,742,147.37

Case inception
To Date
05/07/15 -
03/31/17
$ 0.00
$ 1.541.945.71

$ 7.753.544.05

$ 9,295,489.76

$ (3,866,295.17)
ss (1,236.438.13)

$ (1.448,559.09)

$ 6,553,342.39)
$ w

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FCC LlQU|DAT|NG TRUST

Baiance Sheet

 

03/31/17

ASSETS
Cash 2,742.147.37
ToTAL, Asse'rs $ m
LlABlL|TlES
Reserve for Rernainlng D|Str|butions and Expenses

Caiculation of Reserve for Rematning Dlstributlons and Exponses

Tota| Trust Funding and interest lncome $ 9,295,489.76

Creditor D|stributions $ (3.866.295.17)

Disbursements made for pre-effective dale professionals and expenses $ (1.238,488.13)

Other post-effective date disbursements _ $ (1,448.559.09)
Total Reserve for Remalnlng Dlstr|butlons and Expenses $ 2.742.147.37
ToTAL LrAerLrnes - Resarva for Remarnfng ors¢rrbuuons and Expenses s _ZFZ'ZW'.`§F'
EQU|TY 0.00
'roTAL EQurTY s "`"`To_

==::°______1

TOTAL LlABlLlT|ES and EQU|TY $ 2,742,147.37

of Bank

Number
of Account

of Account

01/23/17

01/26/17
01/26/17

01/24/17
02/03/17
02/03/17
02/03/17

17
02/03/17
02/08/17
02/14/17

02/23/17
02/23/17

03/07/17
03/07/17

03/23/1 7

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FCC Liquidating Trust
Cash/Debithheck Disbursement Details

Bank

0967
and Disbursements

Vl/eissman & Dervisni, P.A, Litigation Expense

omble Carlyle Sandridge & Rice Proiessionai Fees - l_egai
omble Carlyle Sandriclge & Rice Fees ~ l_egal

indels l\/iarx Lane & Ll_P Claim
Clingman&l-ianger l\/lanagernent Associates eleco`m.Equipment, lT and Databese Charges
Clingman&Hanger Nianagement Associates insurance Renevva| thru Apr12017
Ciingman&Hanger i\/lanagement Associates eleoom,Equipment, lT and Database Charges
Cllngman&Henger ll/lanagernent Fees ~ Montnly `i`rustee Fees

|Vlanagement Associaies elecom Equipment, iT and Database Cnarges

U.S. Trustee Payment Center U.Si Trustee Fees - 4th Qtr 2017
lntegration, LLC echnoiogy

/-\mini & t\/iunves Litigation Expense
Frontec (formeriy Evolve Discovery)

Hanger l\/ianagement Associates Professional Fees ~ ivtonthly Trustee Fee

Ciingman&l-ianger i\/|anagement Associates eiecom,Equipment, tT and Database Charges

omble Cariy|e Sandridge & Rice Professional Fees ~

AL

1,740

8.184.i
2,493.

62,236.
50,400.
4.439.6
4.200.
20,000.
4,200.
975,
1,311‘

5,901
3,060

5. .00
4,200.

1,431.31

179,774.

 

